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                     UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                                 .
   IN RE:                        .        Case No. 22-32998
                                 .        Chapter 7
   HOUSTON REAL ESTATE           .
   PROPERTIES LLC,               .
                                 .
                    Debtor.      .
   . . . . . . . . . . . . . . . .
                                 .        Adv. No. 23-03141
   JOHN QUINLAN, et al.,         .
                                 .
                    Plaintiffs,  .
                                 .
   v.                            .
                                 .        515 Rusk Street
   JETALL COMPANIES, INC.,       .        Houston, TX 77002
   et al.,                       .
                                 .        Monday, December 16, 2024
                    Defendants.  .        9:39 a.m.
   . . . . . . . . . . . . . . . .


                   TRANSCRIPT OF SHOW CAUSE HEARING
                BEFORE THE HONORABLE JEFFREY P. NORMAN
              CHIEF UNITED STATES BANKRUPTCY COURT JUDGE




   APPEARANCES CONTINUED.

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  APPEARANCES (Continued):

   For the Plaintiffs:          Hoover Slovacek LLP
                                By: THOMAS MICHAEL BALLASES, ESQ.
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                                5051 Westheimer, Suite 1200
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   For Ali Choudhri:            ALI CHOUDHRI (Pro se)
                                2425 West Loop South, Suite 1200
                                Houston, TX 77056
   For EAO Global LLC and       Kell C. Mercer, P.C.
   M. Nasr & Partners,          By: KELL C. MERCER, ESQ.
   P.C.:                        901 South MoPac Expresssay, Bldg. 1
                                Austin, TX 78746
                                (512) 855-6056




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1            (Proceedings commence at 9:39 a.m.)

2                  THE COURT:    Quinlan v. Jetall Companies, 23-3141.

3      Appearances, please.

4                  MR. BALLASES:    Michael Ballases and Steve Leyh for

5      the plaintiffs, John Quinlan, Omar Khawaja, and Osama

6      Abdullatif.

7                  THE COURT:    All right.    Is anyone appearing for the

8      parties who were show caused in this case?

9            (Pause)

10                 MR. BALLASES:    Doesn't appear so.

11                 THE COURT:    Just want to make sure that the record's

12     clear that I'm -- all right.       There's a show cause order

13     entered at Docket Number 377 basically requiring that the

14     plaintiffs in the Jetall involuntary case, Gene McCubbin of EAO

15     Global, LLC d/b/a Pop Labs and M. Nasr & Partners, P.C. appear

16     and show cause why Jetall Companies should not be severed from

17     this cause of action.       There's no appearance from them at this

18     point in time.

19                 Mr. Ballases, what's your position on staying the

20     adversary or severing Jetall Companies from the bankruptcy

21     proceeding?

22                 MR. BALLASES:    We would not want to sever them out.

23     We would want similar relief to what you just ordered with

24     respect to Shepherd-Huldy or as you ordered as to Jetall's

25     bankruptcy in the Galleria 2425 Owner, LLC lawsuit which is to



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1      annul the automatic stay retroactive to the filing date.

2                  And the reason for that is multiple.        One, we think

3      it -- the evidence will bear out that this was a frivolous

4      filing.    If we get that far, you'll see Gene McCubbin has

5      appeared in our adversary proceeding as a corporate rep of some

6      of the alter ego defendants, which is interesting, to say the

7      least.

8                  And I think it promotes judicial economy; it'll

9      preserve resources.

10                 Moreover, I think if you sever out Jetall, as what

11     happened with Texas REIT at the beginning, you're setting a

12     precedent for Mr. Choudhri to start filing bankruptcy on behalf

13     of all the alter ego defendants to sort of parse this out and

14     create a, you know, a litany, a number of different litigation

15     matters, as opposed to having one suit before Your Honor where

16     we discuss all of the alter ego matters and cases in the

17     fraudulent transfer.

18                 So my request would be to annul the stay as to our --

19     Jetall's stay as to this particular adversary proceeding,

20     retroactive to the original filing date so we can proceed

21     forward.

22                 THE COURT:    All right.    Thank you, sir.

23                 Mr. Mercer, you were late appearing in the case, and

24     you're appearing by video in a show cause order, which I really

25     didn't expect.     But do you want to make an appearance in the



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1      case?    And I'm not sure what you've heard or have not heard.

2                  MR. MERCER:    Thank you, Your Honor.      I was not aware

3      of this hearing until about five minutes ago when one of my

4      clients called me and said that they had gotten a call about

5      this hearing.    And so I have attempted very quickly -- and this

6      is Kell Mercer appearing on behalf of the two petitioning

7      creditors in the Jetall involuntary case.

8                  I was trying to get up to speed quickly so that I

9      could make some sort of informed comment on the record, but I,

10     you know, I only learned of this hearing moments ago.            We

11     didn't get notice, from what I can tell from the docket, of the

12     orders, and it wasn't entered in the involuntary case that

13     there was a show cause related to this adversary proceeding.

14                 I can only tell you that my two clients -- and I

15     represent the two petitioning creditors -- have invoice-based

16     claims against Jetall, and I'm unaware, at this point, of any

17     reason why it's a bad-faith filing.        And I feel like the

18     appropriate way to have a stay annulment occur in an

19     involuntary case is for there to be a motion set, filed in the

20     involuntary, so that the interested parties can participate

21     meaningfully with notice and an opportunity to prepare and be

22     heard.

23                 I understand that a lot of this has been going on for

24     some time.    But it is impossible for me to be fully informed

25     and articulate and intelligent about these matters with, you



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1      know, ten minutes' notice.

2                  THE COURT:    All right.    So let me ask you the

3      question which shouldn't require very much notice.           So my

4      understanding of Jetall -- and obviously, they've been in front

5      of me an awful lot -- is that you're going to need a third

6      petitioning creditor?

7                  MR. MERCER:    I believe that I will have that third

8      petitioning creditor this week.

9                  THE COURT:    All right.    So -- and I realize you've

10     issued a summons and the answer date hasn't come.           My thought

11     process is this:     that I -- given what has happened and

12     transpired over a number of cases, is that I basically annul

13     the stay until such time as an order for relief is entered.                 So

14     if you can get that third petitioning creditor before me, I

15     have no reason to believe that I can't, basically, move forward

16     on your case, protect the debtor at that point in time.

17                 But given what I've seen so far, given the fact that

18     this was filed less than 12 hours before another hearing, you

19     have to admit that there are at least grounds for -- or I guess

20     there's just the suspicion that it's a bad-faith filing, let's

21     say, at this point in time.       And I don't think that, in effect,

22     saying, hey, until an order for relief is entered, there is no

23     automatic stay.     As soon as the order for relief is entered,

24     then you get the full protection of the stay.

25                 MR. MERCER:    Your Honor, my comment to that would be



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1      that I don't have a serious opposition to what you're

2      suggesting, so long as it is limited to this proceeding.             I

3      understand that you've entered another order as to the other

4      bankruptcy case, and I don't have a problem with a similar

5      order being entered as to this matter that you're holding the

6      show cause hearing in this morning.        But I wouldn't want an

7      annulment or a ruling that no stay applies across the board

8      until such time as an order for relief is entered because I

9      don't think cause exists for that.

10                 But as to this proceeding, I have no objection and

11     understand that that's the Court's approach to annul the stay

12     as it --

13                 THE COURT: So let me ask you this question.

14                 MR. MERCER:    Yeah.

15                 THE COURT:    What is -- I mean, I don't expect -- my

16     expectation is that Jetall will not be real happy about being

17     in an involuntary, especially given the fact that that

18     involuntary could potentially -- if I enter an order for

19     relief, potentially be converted to a Chapter 7, all right,

20     which would raise all sorts of issues for Jetall.

21                 What's the prejudice to your clients, your two

22     clients if I say no stay until such time as the order for

23     relief is entered?

24                 MR. MERCER:    I guess my response to that on very

25     quick notice is the Bankruptcy Code sets up the automatic stay



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1      being in existence upon the filing of an involuntary petition.

2      And of course, the Bankruptcy Code allows annulment or

3      modification of the stay for cause shown on notice and hearing,

4      but I'm not sure I understand why we would have a blanket

5      annulment or a blanket ruling that no stay applies,

6      notwithstanding what the Bankruptcy Code says.

7                  THE COURT:    Well, and I guess my response to that is

8      I have said at least on numerous -- at least on one occasion,

9      perhaps on two or three occasions -- I think Jetall is, at

10     times, a vexatious litigant.        And this appears at least on, you

11     know, a 360-degree overview, perhaps to be a continuation of

12     that vexation [sic] litigation, and I think that there's cause

13     for doing what I'm thinking about doing.         And my issue for you

14     is what's the prejudice to you?        Given what I know about Jetall

15     and all the litigation it's involved in, what's the prejudice

16     to your clients?

17                 MR. MERCER:    Simply, Your Honor, I don't represent

18     Jetall.   I represent two creditors that are --

19                 THE COURT:    I know.    So what's the prejudice to --

20                 MR. MERCER:    -- owed money by Jetall.       Let --

21                 THE COURT:    -- your clients.     That's what I'm asking.

22     I'm asking about your clients.

23                 MR. MERCER:    I am concerned.     And the reason -- and

24     Your Honor, I've been practicing bankruptcy law for about 28

25     years and have been handling involuntary cases for much of



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1      that.   I understand the rules and Bankruptcy Code as it applies

2      to involuntary cases, and I do not represent Jetall.

3                  Jetall may be a vexatious litigant.        In fact, my

4      clients are owed money by Jetall and want to see that no one

5      that is suing Jetall gets an unfair advantage over my unsecured

6      clients.    And that is the protection that they are afforded

7      under the Bankruptcy Code, that when an involuntary is filed --

8      because Jetall is not paying my clients as and when they are

9      due, and I believe Jetall is insolvent and will be shown to be

10     insolvent and that they are appropriately in either a Chapter

11     11 or a Chapter 7.

12                 My clients aren't the bad guys.       My clients are

13     creditors of what is described as a vexatious litigant.              This

14     is not litigation filed by Jetall.

15                 THE COURT:    And again, I'm looking for what is the

16     prejudice to your clients, because you've basically not

17     answered my question.

18                 MR. MERCER:    Okay.   Let me try again.      The prejudice

19     is that other creditors would have an advantage, and the stay

20     is designed to level the playing field so that all creditors

21     can be treated ratably and according to their claim hierarchy

22     under the Bankruptcy Code.       That's the prejudice, that that

23     would be undone without due process, notice, or cause.

24                 THE COURT:    At least as far as the litigation I have

25     in front of you, that will all post-date any sort of order for



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1      relief being entered, more than likely.          All right.     But I'll

2      take your arguments under advisement.         I appreciate you

3      appearing today.

4                  I will note for the record, though, that it does

5      appear that you probably didn't get proper notice, and I'm

6      somewhat troubled by that, as well.

7                  MR. MERCER:    Thank you, Your Honor.       May I just say

8      one more thing?

9                  THE COURT:    Sure.

10                 MR. MERCER:    I literally have no problem with you

11     annulling the stay as it relates to this adversary proceeding

12     in which we are here today.       I just would really plea to the

13     Court that you not expand the relief that you're contemplating

14     beyond the adversary --

15                 THE COURT:    Well --

16                 MR. MERCER:    -- and that which you've already

17     granted.

18                 THE COURT:    -- let me do this, then.       Let's assume

19     that I do it.     I will be happy to entertain some sort of motion

20     from you once you have that third creditor and you can make

21     some sort of cognizant argument as to why the stay should

22     basically be reapplied based on whatever other litigation or

23     claims are pending against Jetall of which I am basically

24     totally unaware.

25                 MR. MERCER:    Thank you, Your Honor.       I appreciate the



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1      opportunity.

2                  THE COURT:    All right.    I'll take the matter under

3      advisement.     You can expect orders later today on both cases.

4                  I think, Mr. Ballases, as far as you're concerned,

5      I'm going to basically annul the stay retroactively.             It's not

6      going to affect your litigation at all.          All right?

7                  MR. BALLASES:     Thank you, Judge.

8                  MR. CHOUDHRI:     Your Honor, may I be heard?        I'm a pro

9      se in this case, as you know.

10                 THE COURT:    You can be heard on the adversary

11     proceeding, Mr. Choudhri.       Go ahead.

12                 MR. CHOUDHRI:     So Your Honor, I just wanted to bring

13     up a few things.

14                 There's been a lot of gratuitous statements by Your

15     Honor.     I think in a memorandum of opinion, you -- on Footer

16     48, you listed a number of various lawsuits including where

17     tenants had filed bankruptcy.        And I'm really baffled, Your

18     Honor, by -- in the past, you also said that I lied about

19     having a stroke, and you made those findings.

20                 And what I'm really baffled by, Your Honor, is just

21     the lack of due process by you.        One is calling another judge

22     in a different district and having a case moved over.             I'm not

23     aware --

24                 MR. BALLASES:     Objection, Your Honor.       We've heard

25     this argument at least three different times.



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1                  THE COURT:    No.   No, I'm going to let Mr. Choudhri

2      make his statement for the record, and then I'll respond to it.

3                  Go ahead, sir.

4                  MR. CHOUDHRI:     Yes, Your Honor.     What I'm failing to

5      understand, Your Honor, is just the repeated lack of due

6      process and rights so the playing field is level.            And it seems

7      that there's been continuous extrajudicial acts by Your Honor

8      where you're going outside the record.

9                  One example would be where you went and found a

10     number of other cases that were never referenced or mentioned

11     in this case.     And you put it in Footer 48.        You also --

12                 THE COURT:    So I'm not -- Mr. Choudhri, as I will

13     tell you, I have 3,500 cases.        Your knowledge of what has

14     pended in your cases is probably, as it relates to docket

15     entries, probably better than mine.

16                 If you'd like to refer me to a specific document, I'm

17     happy to look at it, but I don't have any independent

18     recollection.     So do you want to refer me to something so you

19     can tell me where I should go look?

20                 MR. CHOUDHRI:     Yes, Your Honor.     In the Galleria 2425

21     plan confirmation and memorandum opinion, you stated in the --

22     in that memorandum, on Footer 48, that I have a bad business

23     reputation and I have all these other cases.           And you've made

24     statements, again, about vexatious where there's been no

25     finding or holding of that, or -- there's been no adjudication



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1      of that.

2                  Number two, Your Honor, I'm unaware of any rule

3      that --

4                  THE COURT:    Bear with me for one second.        I'm going

5      to pull that up and look at it.        Bear with me for one second.

6                  MR. CHOUDHRI:     Sure.   It's Footer 48 on the

7      memorandum.

8                  THE COURT:    I've got to -- it doesn't -- it's not

9      that quick.

10                 MR. CHOUDHRI:     Yeah, no problem.

11                 THE COURT:    Bear with me for one second.

12                 MR. BALLASES:     Mr. Choudhri, do you have a copy for

13     us, whatever you're referring to?

14                 THE COURT:    I'll project it.

15                 MR. BALLASES:     Okay.

16                 MR. CHOUDHRI:     While you're doing that, Your Honor,

17     is it okay if I mention something else?

18                 THE COURT:    No, because it's --

19                 MR. CHOUDHRI:     Just one thing at a time?

20                 THE COURT:    I do one thing very well.        I do multiple

21     things very poorly.      So bear with me for one second.

22                 MR. CHOUDHRI:     Fair enough.    No problem.     Fair

23     enough.

24           (Pause)

25                 THE COURT:    You don't happen to know the docket entry



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1      of that memorandum opinion, do you?         Because there's over a

2      thousand entries in that case.

3                  MR. CHOUDHRI:     It's Document 565, Case Number

4      23-34815.

5                  THE COURT:    Bear with me for one second, sir.           That

6      helps, because I was already at 800 going down.            565?

7                  MR. CHOUDHRI:     Yes, sir, 565.

8                  THE COURT:    So Footnote 48 is the footnote that you

9      complain of?

10                 MR. CHOUDHRI:     That's one of them, Your Honor.         And

11     it lists, like, the --

12                 THE COURT:    Bear with me for one second.        Let me --

13                 MR. CHOUDHRI:     -- Stage Store's bankruptcy filing

14     and --

15                 THE COURT:    Let me just look at it real quick.

16                 MR. CHOUDHRI:     -- many other cases, and I believe you

17     reference Footnote 48.

18                 THE COURT:    So, "The Court additionally stresses the

19     debtor principal has a large litigation history not only in

20     this case but various bankruptcy cases scattered throughout the

21     Southern District of Texas."        Footnote 48 then basically lists

22     all those cases, correct?

23                 MR. CHOUDHRI:     Right, Your Honor.

24                 THE COURT:    All right, go ahead.

25                 MR. CHOUDHRI:     So Your Honor independently goes



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1      outside the record and investigates other cases that I have

2      without actually looking at the merits of those cases and

3      without really even understanding my side of it.            You just

4      unilaterally make an assessment of the veracity of any of those

5      other matters.

6                  As you can see, a lot of these cases involve

7      Abdullatif.     There's a history that goes back with Abdullatif

8      in the sponsored litigation.

9                  Number two, Your Honor, I had requested continuance

10     when I walked in your court, and my counsel had -- with the

11     diagnosis of stroke that I had, I was admitted to Methodist

12     stroke unit.     And Your Honor went outside the record and

13     investigated continuance with Judge Isgur and spoke to him, and

14     based on that conversation and your finding based on your

15     investigation with Judge Isgur -- who is not a medical doctor,

16     nor I think you are, Your Honor, with respect, you're -- as far

17     as I know -- and denied the continuance based on that reason.

18                 And now Your Honor has contacted a different

19     district, spoken to other judges in a different district where

20     I'm involved in cases, Your Honor, and without any notice,

21     without any party's motion, you've transferred a case.              I'm not

22     aware of any rules, bankruptcy rules that allow Your Honor to

23     reach out to a different district and move a case over to your

24     court.    And it's very troubling, Your Honor.

25                 And then annulling a stay in that matter without any



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1      notice or without a hearing or any sort of notice.

2                  I tried to investigate if this has ever happened

3      before.     I'm not aware of any, and I'm not aware of any -- and

4      Your Honor, my family's been very tortured and significantly

5      affected.    I feel like you've become an advocate as -- for the

6      other side.

7                  And so that's where I'm really troubled with lack of

8      due process.     I'm just not aware of the rules that would allow

9      you to transfer a case from a different district without any

10     party making a motion and without there being any notice.

11                 THE COURT:    All right, thank you, sir.        So let me

12     just make these following comments on the record back to you,

13     and then we'll be done for the day.

14                 First of all, Mr. Choudhri, I will stand on the

15     record on the various cases that I've heard, both the record

16     and the orders that I've entered.         I think I have the

17     discretion to do what I've done.        I think that I have the

18     discretion to take judicial notice of litigation that's

19     involved in these courts, and I'll stand on the docket.

20                 And I'll specifically stand on the paragraph that

21     basically -- it's exactly after Footnote 48, and I'm reading

22     from ECF 565, Page 17.        It says -- and I'll stand on this

23     because I truly believe it -- "This Court has spent

24     considerable time attempting to evaluate the actions and

25     testimony of Ali Choudhri in this case, both as a witness and



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1      as a pro se litigant.      The Court, based on this analysis, holds

2      that Choudhri must, at times, believe what he is telling the

3      Court.

4                  "Unfortunately, what he has told the Court, often in

5      broad terms, is not supported by rational facts or any

6      documentary evidence.      It additionally often is totally untrue.

7                  "The Chapter 11 trustee found that Choudhri's

8      veracity was troubling.       The Court strongly agrees with this

9      assessment.     Based on the testimony of the Chapter 11 trustee,

10     the Court believes that, in part, Choudhri's reputation in the

11     community for a lack of veracity has damaged his ability to

12     conduct business as a real estate developer.           The Court can

13     only look to repeated promises of payment to MBK (phonetic)

14     that were repeatedly broken to make such a holding."

15                 Mr. Choudhri, I want to give you every opportunity to

16     prove up your case.      All right?     But you need to do that by

17     evidence and not by argument.         All right?   You can do it in

18     this case.     You can do it in any case that's before me.            But

19     I'm going to call balls and strikes because that is what I am

20     duty-bound to do.

21                 I understand you don't like the results of what I've

22     done.     You have the right to appeal, and I encourage you to

23     appeal.     Okay?   I'm not always right.     Okay?    I'm right most of

24     the time, but I'm not always right.         I'm happy to see you

25     appeal any of my rulings, to contest anything that I do in any



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1      litigation.

2                  But again, when it comes down to calling balls and

3      strikes, I'm going to call it as I see it, all right?             And

4      that's how I saw this particular case.         I may see it

5      differently in a different case, but that's purely based on the

6      evidence that I hear.       All right?

7                  Thank you for appearing.

8                  MR. CHOUDHRI:     Thank you, Your Honor.

9                  THE COURT:    Thank you.

10                 MR. CHOUDHRI:     I just want to know about the

11     transcript.     Can you help me understand what rule?

12                 THE COURT:    You have lawyers, Mr. Choudhri, and I'll

13     let you deal with them.       I can't give you legal advice.

14                 MR. CHOUDHRI:     I'm not asking you for --

15                 THE COURT:    I don't want to give you legal advice,

16     okay?     I don't have to give you rationale, either.          It's in my

17     orders.     I stand on the record.

18                 MR. CHOUDHRI:     In something else in this order --

19                 THE COURT:    Thank you.     We're adjourned,

20     Mr. Choudhri.

21                 MR. CHOUDHRI:     Okay.

22                 THE COURT:    Thank you.

23           (Proceedings concluded at 10:03 a.m.)

24                                     * * * * *

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1                             C E R T I F I C A T I O N

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3                  I, Dena Farbman, court-approved transcriber, hereby

4      certify that the foregoing is a correct transcript from the

5      official electronic sound recording of the proceedings in the

6      above-entitled matter.

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10     DENA FARBMAN, AAERT NO. 629           DATE:    12/17/2024

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